
PER CURIAM.
The trial court’s order denying Buster Harris’ motion filed pursuant to Florida Rule of Criminal Procedure 3.800(a) is affirmed without prejudice to Harris’ right, if any, to file a rule 3.850 motion as to his one guidelines sentence. See Murphy v. State, 773 So.2d 1174 (Fla. 2d DCA 2000) (en banc) (affirming without prejudice to filing a rule 3.850 motion challenging the voluntariness of the plea based upon a plea agreement wherein petitioner received the bottom of the 1995 guidelines).
Affirmed.
GREEN, A.C.J., and DAVIS, J., and CAMPBELL, MONTEREY, (Senior) Judge, concur.
